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 4
     Attorney for Defendant
 5
     MANUEL HERRERA
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-296-WBS
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER TO CONTINUE JUDGMENT AND
11
     v.                                             )       SENTENCING DATE
                                                    )
12
     MANUEL HERRERA,                                )
                                                    )       Date: December 16, 2019
13   SANDRA HERMOSILLO,                             )       Time: 9:00 a.m.
     MOCTEZUMA TOVAR, and                           )       Judge: WILLIAM B. SHUBB
14
     JUN MICAHEL DIRAIN,                            )
                                                    )
15
                                                    )
            Defendants.
16

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19
            This matter is presently set for judgment and sentencing before this court on September
20
     30, 2019. Trial defendants Ruben Rodriguez and Jamie Mayorga were found guilty (see, ECF
21
     848) and have a sentencing date of November 5, 2019 before the Honorable John A. Mendez.
22
     The defendants in this matter appearing before this court have all pleaded guilty and are awaiting
23
     sentencing. As such, the parties are requesting the court vacate the presently scheduled
24
     sentencing date (September 30, 2019) and adopt the sentencing date (December 16, 2019) and
25
     proposed PSR/objection schedule submitted herein.
26
            Therefore, the United States of America through its undersigned counsel, Brian Fogerty,
27
     Assistant United States Attorney, together with counsel for defendant Moctezuma Tovar,
28
     Thomas A. Johnson, Esq., counsel for defendant Sandra Hermosillo, Erin J. Radekin, Esq.,


                                                        1
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 1   counsel for defendant Jun Michael Dirain, Timothy Zindel, Esq., and counsel for defendant
 2   Manuel Herrera, John R. Manning, Esq., hereby request the Court adopt the following schedule
 3   pertaining to the presentence report:
 4
                Judgment and Sentencing date:                                  12/16/19
 5
                Reply, or Statement of Non-Opposition:                         12/9/19
 6
                Motion for Correction of the Presentence
 7
                Report Shall be filed with the Court and
 8              served on the Probation Officer and
                opposing counsel no later than:                                12/2/19
 9

10
                The (final) Presentence Report shall be filed
                with the Court and disclosed to counsel
11              no later than:                                                 11/25/19
12              Counsel’s written (informal) objections to the
13
                Presentence Report Shall be delivered
                to the probation officer and opposing
14              Counsel no later than:                                         11/18/19
15
                The draft Presentence Report (with any modifications
16              or updates) shall be filed with the Court and
                disclosed to counsel no later than:                            n/a
17

18      IT IS SO STIPULATED.
19

20   Dated: August 14, 2019                                      /s/ John R. Manning
                                                                 JOHN R. MANNING
21                                                               Attorney for Defendant
                                                                 Manuel Herrera
22

23   Dated: August 15, 20119                                     /s/ Thomas A. Johnson
                                                                 THOMAS A. JOHNSON
24                                                               Attorney for Defendant
                                                                 Moctezuma Tovar
25

26   Dated: August 14, 2019                                      /s/ Erin J. Radekin
                                                                 ERIN J. RADEKIN
27                                                               Attorney for Defendant
28
                                                                 Sandra Hermosillo



                                                     2
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     Dated: August 14, 2019                                    /s/ Timothy Zindel
 1
                                                               TIMOTHY ZINDEL
 2                                                             Attorney for Defendant
                                                               Jun Michael Dirain
 3
     Dated: August 14, 2019                                    McGregor W. Scott
 4
                                                               United States Attorney
 5
                                                        by:    /s/ Brian A. Fogerty
 6                                                             BRIAN A. FOGERTY
 7
                                                               Assistant U.S. Attorney

 8
                                                ORDER
 9

10
            Because no persuasive reason has been presented to further continue the sentencing of
11   defendants Moctezuma Tovar, Sandra Hermosillo, Jun Michael Dirain, Manuel Herrera, and
12   John R. Manning, their request for a continuance of the sentencing hearing is DENIED without
13   prejudice.
14   Dated: August 19, 2019

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